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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                 Eastern Division

Nealy L Skeldon
                                          Plaintiff,
v.                                                        Case No.: 1:25−cv−06078
                                                          Honorable Joan B. Gottschall
Dermacare USA Corporation, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 3, 2025:


       MINUTE entry before the Honorable Joan B. Gottschall: Defendant Dermacare
USA Corp. is instructed to file its Local Rule 3.2 notice of affiliates on or before June 10,
2025. All defendants must file a Fed. R. Civ. P. 7.1(a)(2) jurisdictional disclosure
statement on or before June 10, 2025. Mailed notice(mjc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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